
887 F.Supp. 288 (1995)
In re GRAND JURY PROCEEDINGS.
B &amp; J PEANUT COMPANY, Petitioner,
v.
UNITED STATES of America, Respondent.
Misc. No. 95-26-ALB/AMER.
United States District Court, M.D. Georgia, Albany-Americus Division.
May 31, 1995.
*289 Alexander J. Pires, Jr., Washington, DC, Timothy O. Davis, Albany, GA, for petitioner.
Harry Fox, Macon, GA, for respondent.

ORDER
OWENS, District Judge.
Before the court is petitioner's motion to quash the issuance of two subpoenas. A previously convened grand jury had issued a subpoena[1] against petitioner, requesting production of business documents pertaining to specified clients for a definite time period. Adjournment of that grand jury mooted petitioner's motion to quash that subpoena. Now, a reconvened grand jury has again issued subpoenas seeking substantially the same materials as before; petitioner has since, at the court's invitation, reactivated its motion to quash. After careful consideration of the arguments of counsel, the relevant caselaw, and the record as a whole, the court issues the following order.
As an initial matter, the court is mindful of the necessity of viewing federal grand jury matters in light of the grand jury's purposes.
[A] federal grand jury enjoys sweeping powers to investigate allegations of criminal behavior. Since the founding of the United States, grand juries have been accorded wide latitude to gather all relevant material because "the public ... has a right to every man's evidence." At the federal level, as in the states, the grand jury exercises this right for the public.
The grand jury, in acting for the public, requires wide latitude to investigate allegations of criminal activity so that it can issue accurate indictments and dismiss baseless charges. As the Supreme Court has observed, "[a] grand jury investigation `is not fully carried out until every available clue has been run down and all witnesses examined in every proper way to find out if a crime has been committed.'"
As the public has a right to everyone's evidence, the citizen has a concomitant duty to appear and to testify before a grand jury when subpoenaed to do so; it is "a basic obligation that every citizen owes his Government." The courts, in turn, have a duty to compel those who are subpoenaed to discharge this obligation; otherwise, the grand jury would be prevented from functioning effectively.
Grand Jury Proceedings (Williams) v. United States, 995 F.2d 1013, 1015-16 (11th Cir. 1993) (citations omitted). The power of the grand jury to compel testimony (or document production) is "limited only in that production may not be compelled in violation of a valid privilege established under the common law, statutes or the Constitution." Vingelli v. United States, 992 F.2d 449, 452 (2d Cir. 1993). The statutory standard created to act as a check upon the issuance of subpoenas may be found in Federal Rule of Criminal Procedure 17(c)  subpoenas with which "compliance would be unreasonable or oppressive" should be quashed. With these standards in mind, the court proceeds to consider the facts presently before it.
Petitioner's principal contention is that the documents sought under the instant subpoena are similarly sought under an administrative subpoena duces tecum issued by the Inspector General of the United States Department of Agriculture in a related case pending before another judge of this district. Indeed, petitioner's brief attacking the subpoena in that case was filed as an exhibit to its motion to quash the subpoena now before the court. And petitioner has seemingly adopted the same arguments in favor of quashing in both cases  the subpoenas exceed regulatory authority, are overly broad, and constitute an undue burden on the party to whom issued. See, e.g., United States v. Westinghouse Elec. Corp., 788 F.2d 164, 166 (3d Cir.1986) (cited by petitioner in its brief to the court). As a fallback position, petitioner maintains that the court should await *290 a ruling by the other district judge in the related case on a similar motion.
The fatal flaw to petitioner's legal argument is the incongruity of the authority cited. The Westinghouse case dealt with an administrative subpoena, not a subpoena from the grand jury. That case is presumably entitled to weight in the related case, but not here. Nevertheless, the court seriously questions petitioner's ability to demonstrate that regulatory authority was exceeded simply because agency regulations only required retention of documents for two years. See In re Grand Jury Proceedings No. 92-4, 42 F.3d 876, 880 (4th Cir.1994) (government's failure to follow Department of Justice guideline, requiring that government first ask attorney to voluntarily comply with requests for information prior to issuing a subpoena against the attorney, was not grounds for quashing of subpoena). And because of the distinction between this and the related case, no reason to refrain from ruling exists.
The court also notes that Rule 17's dual mandate  that a subpoena be neither unreasonable or oppressive in its demands  is not offended by the subpoena now before the court. The documents requested pertain to specifically named clients, and are for a definite, reasonable time period. The fact that the current custodians of petitioner's records were not in charge during the time period for the documents requested does not render the request either unreasonable or oppressive. Cf. In the Matter of Grand Jury Proceedings 89-8, 742 F.Supp. 1154, 1155-56 (S.D.Fla.1990) ("any person with custody over corporate records is a records custodian").
Accordingly, petitioner's motion to quash the subpoenaes issued in this case is DENIED.
SO ORDERED.
*291 


*292 ATTACHMENT A
Any and all records including, but not limited to: harvesting records, transporting records, yard tickets, wagon or module tags; inspection memos; computer printouts; marketing cards; storage records; ginning records or books; records regarding the renting, leasing, or borrowing of wagons trailers, module packers, module haulers, or other means of transporting cotton; ledgers or printouts showing the date, condition, and means of receiving cotton; purchase records. Any records of the application of seed, chemicals, or fertilizer related to the production of cotton. Statements of accounts, ledgers, payment records, or accounts receivable; records of loans, advances, or share cropping agreements for the below listed individuals or ASCS Farm Serial Numbers for the years 1990 and 1991.
      Jimmy West, Sr.                       L.D. West, III
      Jimmy West, Jr.                       Marty West
      Earl West                             Todd West
      Stacy West                            Bobby West
      Jeffery West                          Alan West
      Jerry West                            Bruce Godwin
      Douglas West                          Ken Godwin
      Roger West                            Chuck Godwin
      Clarence West, Jr.                    Cary Humphries
      L.D. West, Sr.                        William Whitfield
      ASCS Farm Serial Numbers
      FSN 314                               FSN 2315
      FSN 799                               FSN 2365
      FSN 1647                              FSN 2453
      FSN 1924                              FSN 2583
      FSN 2041                              FSN 2667
      FSN 2097                              FSN 2680
      FSN 2142                              FSN 2710
NOTES
[1]  Attached as Exhibit A is the original issued subpoena which has since been reissued.

